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                     .IN THE UNITED STATES DISTRICT COURT                            OCT 2 7 2016
                           WESTERN DISTRICT OF ARKANSAS
                                                                               DOUGLAS F. Y
                                                                                             OUNG,    CldJ
                                     HARRISON DIVISION                                                 ./"
                                                                                By                -
                                                                                      Deputy \.. 113
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CURTIS BOWMAN                                                              PLAINTIFF


v.                                    Case No.        J b -(6JJ_� /(1- 13
PRUDENTIAL INSURANCE
COMP ANY OF AMERICA                                                        DEFENDANT


                                 ORIGINAL COMPLAINT


        COMES NOW the Plaintiff, Curtis Bowman, by and through his attorney of


record, Bowman & Lewis Law, PLLC, and for his complaint against Prudential


Insurance Company of America ("Prudential") states as follows:


                                      I. Statement of Facts


        1.    In   2000,   Plaintiff purchased a Long Term Disability (LTD) insurance


policy as a member of The American Institute of Certified Public Accountants from


Prudential Insurance Company of America. See Prudential Policy attached as Exhibit 1.


        2.    Mr. Bowman never missed a payment on the policy and never increased


the benefits that could be received under the policy. The benefits have always been a


maximum of six thousand dollars       ($6,000).

        3.    In October     2014,   Mr. Bowman sought medical care from Dr. Thomas


Walden, MD. After an examination, he diagnosed Mr. Bowman with Recurrent Major


Depression, Generalized Anxiety Disorder, and Insomnia Disorder. See Affidavit of


Thomas E. Walden, M.D. attached as Exhibit 2.




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      4.     On January 1, 2015, Mr. Bowman attempted to commit suicide. He was


transported by ambulance to Baxter Regional Medical Center where he was admitted


and monitored overnight by Dr. Michael Hagaman, M.D.


      5.     Mr. Bowman had a scheduled appointment with Dr. Walden on January 2,


2015. While Dr. Hagaman felt that he would benefit from inpatient care, he discharged


Mr. Bowman to the care of his sister and friend who were instructed to take him to his


psychiatrist appointment.


      6.     On January 2, 2015, Dr. Walden advised Mr. Bowman to take some time


off from his job, as President of Bowman & Associates, due to the high stress and

                                                                '"




anxiety associated with being a President of both a law firm and a CPA firm. Exhibit 2.


      7.     Mr. Bowman took a break from his occupation, but returned to work on


January 26, 2015, and continued to work for wage and profit at Bowman & Associates


until February 6, 2015. Id. See also, Letter .from Bowman & Associates attached as


Exhibit 3.


      8.     During the period from January 26, 2015 until February 6, 2015, Mr.


Bowman was taking the medications his doctors had prescribed and continued his


regular appointments with Doctors Walden and Brown.


      9.     On or around February 1, 2015, Dr. Walden determined that despite the


efforts from all parties involved to control Mr. Bowman's medical conditions, his


mental illness ,was worsening. Exhibit 2.




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       10.      Mr. Bowman, under the care and with the advice of his doctors, chose to


step down from his positions at Bowman & Associates on February 6, 2016 and


subsequently caused his law license and CPA license to be put in inactive status.


       11.      In early 2015, Mr. Bowman filed a claim for disability benefits because his


mental illness left him unable to carry out the material and substantial duties of his


occupations as an attorney and accountant. See Attending Physician Statement attached


as Exhibit 4.


       12.      Mr. Bowman provided Prudential all the information and documentation


that he was required to provide under the terms of the contract. Prudential requested


this information in order to determine if he was disabled according to the definition


found in the policy. See Exhibit 1 at p. 13.


       13.      Around the same time, Mr. Bowman's doctors, Dr. Thomas Walden, M.D.


and   Dr.    Phillip   Brown,   Ph.D.,   provided     Prudential   all   the   information   and


documentation Prudential requested so it could determine if Mr. Bowman was disabled


according to the definition found in the policy. See Exhibit 4. See also, Affidavits of Dr.


Thomas Walden, MD and Dr. Philip W. Brown, Ph.D. attached as Exhibit 2 and Exhibit


5, respectively.


       14.      Prudential determined, after review of the information provided by Mr.


Bowman and his         treating .doctors,   that Mr.    Bowman's     diagnosed     anxiety and


depression caused a psychiatric impairment that rendered him unable to perform, for


wage or profit, the material and substantial duties of his own. occupation. See


Prudential Letter dated June 4, 2015 attached as Exhibit 6; and, Prudential Letter dated



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June 13, 3015 attached as Exhibit 7. The letter from Prudential to Mr. Bowman


approving the benefits stated that the maximum duration for his claim is December 31,


2021.1


         15.    Accordingly, Prudential approved his claim for disability in June of 2015


and his benefits became active in May 2015. Id.


         16.    Pursuant to the terms of the LTD policy, Mr. Bowman provided proof of


his monthly earnings, including tax documents, which Prudential determined entitled


him to six thousand dollars ($6,000) per month. Id.


         17.    Prudential paid Mr. Bowman the benefits to which he was entitled from


June 2015 to November 2015 without incident.


         18.    On or around November 13, 2015, Sr. Disability Claims Examiner, Maria


LaPan, sent a letter to Mr. Bowman notifying him that Prudential was currently


reviewing his claim for LTD benefits. In this letter, Prudential requested additional


information to assist in its review of his claim. It stated that "to avoid a disruption in


benefits," Mr. Bowman must provide the information by February 11, 2016. See


Prudential Letter dated Nov. 13, 2015 attached as Exhibit 8.


         19.    Notwithstanding the November letter requesting information by February


11, 2016, Mr. Bowman experienced a "disruption of benefits" when Prudential,


unilaterally and without notice, ceased making benefit payments on his claim.




1   In 2015, Prudential increased the maximum duration for certain policy holders, including
Mr. Bowman, from age 65 to age 67 for claims made in 2015.



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       20.       Telephone Call Logs that Prudential provided indicate that Mr. Bowman


contacted Prudential on or around December 29, 2015 and asked why he had not


received a benefit check for the month of December. See Telephone Call Log attached as


Exhibit 9, pp. 9-10.

       21.       These Call Log Messages note that Mr. Bowman (who is identified as "EE"


or "ee" in Prudential's Call Logs) asked about not getting a December check and was


advised ("adv") that he was approved for LTD only through November 30, 2016


("11/30"). Id.


       22.       Mr. Bowman was advised on this call that "additional information is


needed to extend elm [sic]" and "the elm [sic] is not closed, PRU [Prudential] just needs


additional information to support the elm [sic] medically". Id.


       23.       On the same phone call, Mr. Bowman informed Prudential that the letter


in November      (Exhibit 8)   said additional information was due in February and that it


should "therefore not close until after the due date". See         Exhibit   9. Mr. Bowman


informed Prudential that their affirmative action of ceasing his benefit payments


without prior notice was unfair and not an action made in good faith. Id.


       24.       On the same phone call, Prudential "adv[ised] that November has been


the approved through date since August ..." Mr. Bowman then advised Prudential that


he was never notified that the claim was only approved through November. Id.


       25.       Said phone call was transferred to "ACCNTELE" and Mr. Bowman


reiterated his surprise and distress at the fact that his benefits were cutoff arbitrarily




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and without notice to him. During this call, it was noted by Prudential's employee that


he "started crying and advised he was frightened that his claim would end". Id.


       26.     On said phone call, Mr. Bowman was advised that his benefits were


extended through January 31, 2016 ("1/31/16"). Id.


       27.     Even after Mr. Bowman directed Prudential to Maria LaPan's letter, his


benefits were not extended through the deadline that Prudential gave him in the


November 15th letter (February 11, 2016). See Exhibit 8.


       28.     Mr. Bowman was confused as to which date Prudential needed the


requested information in order to assist in the review of his claim and to avoid a


disruption in benefits. This uncertainty, coupled with the recent arbitrary and willful


cessation of benefit payments, caused Mr. Bowman to experience severe anxiety.


       29.     Prudential, only about six (6) months earlier, had approved Mr. Bowman's


LTD claim because he was diagnosed with Generalized Anxiety Disorder among other


medically diagnosed conditions.


       30.     Mr. Bowman spoke by phone with Prudential again on January 6 th, 7th,


11th, 12th, and 29th; and, February 4th, 9th, 16th, 17th, 18th, 19th, 22nd, 24th, and 25th. Id.


       31.     As noted in Prudential's Telephone Call Log Messages, Mr. Bowman


reiterated, on multiple occasions, that the arbitrary cutoff of his benefits was causing


him unnecessary stress and anxiety. The Call Log Messages show that during these calls


he was "upset" and "concerned" and "he [did] not understand" and "that the recent


events have caused more anxiety and [he] just wants to know what he needs to do." Id.




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      32.    The Call Log Messages from a phone call that took place February 4, 2016

("02/04/2016") indicate that Mr. Bowman was advised that his "claim is app[roved]

thru 01/31/2016". Id. at p. 14. To reiterate, Mr. Bowman called Prudential on the 4th day

of February 2016 to inquire about the status of his benefits and Prudential advised him

that his claim was only approved through the last day of January 2016.

       33.   The Messages indicate that    Mr.    Bowman was not advised that his claim

was approved through February 29, 2016 ("02/29/2016") until February 16, 2016. Id. at

p. 15. There was nothing in the Call Log regarding this short-term extension until then.

       34.    Mr. Bowman continued to suffer the uncertainty of the situation and, as a

direct result, Mr. Bowman's Anxiety Disorder and other medical conditions were

exacerbated. He informed Prudential multiple times about these medical concerns and

Prudential noted his distraught demeanor on the phone. Further, he notified Prudential

on February 24, 2016 that his doctors increased his prescription and, because of this

higher dosage, he was unable to teach that day. Id. at p. 18.

       35.    According to Prudential's Call Log, it was not until February 25th that Mr.

Bowman was advised that his benefits were extended "through 9/30/16". Id. at p. 19.

       36.    On or about June 29, 2016, Mary Stratton contacted         Mr.   Bowman by

phone. Id. at p. 22. During this call, it was noted that she asked Mr. Bowman questions

regarding his ability to work and "what is it specific [sic] about reg [sic] occ [sic] that

clmt [sic] cant [sic] do?" to which Mr. Bowman answered that "it is too difficult for him

to deal with attorneys and tax returns... " and "he advised he gets shivers just thinking




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about it... " and that "he has a difficult time explaining this but he is not able to do it b /c


of the anxiety it causes." Id.


       37.    On this June 29th phone call, Mary Stratton advised Mr. Bowman that


Prudential had "moved DOD back to 12/3/14" and that there was a possible payment


issue related this new date. Id. This affirmative action of claiming that Mr. Bowman's


last day that he worked for wage or profit was not February 6, 2015 (see Exhibit 2), as it


had already accepted, was a dishonest, malicious action that sought to minimize the


payments that Prudential was required to make.


       38.    Mr. Bowman worked for wage and profit in 2015. Id. Mary Stratton and


Prudential alleged that because Mr. Bowman did not receive any earnings in 2015, he


was not working for wage or profit. Nowhere in the LTD policy is "wage" or "profit"


defined. See Exhibit 1. Mr. Bowman informed Mary Stratton and Prudential that he was
                                       �




the managing partner of the firm and was never on salary, that he was on a draw and a


guarantee based upon an agreement·with his partners. See Exhibit 9 at p. 23. Prudential


ignored and contradicted its own terms and definitions when it claimed that Mr.


Bowman did not work for wage or pay in 2015. This further demonstrates a breach of


contract and good faith and fair dealing.


       39.    The amount of benefits to be paid under the policy is determined by the


highest value between the policyholder's average income from the previous two years


and the policyholder's income from the previous year. See Exhibit 1 at p. 14.




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      40.     Prudential's action of attempting to backdate Mr. Bowman's claim would


allow it to use Mr. Bowman's 2012 and 2013 incomes, which were significantly lower


than his 2014 income.


       41.    If Prudential used Mr. Bowman's 2014 income in calculating his benefits,


he would have been entitled to six thousand dollars ($6,000) per month. However, since


Prudential attempted to backdate the claim and use his 2012 and 2013 incomes, it could


reduce Mr. Bowman's benefit payments to four thousand ($4,000) dollars per month.


       42.    Additionally,   Prudential    increased     the   maximum    age   that   its


policyholders could receive disability benefits from 65 years old to 67 years old for


claims made in 2015 or later. See Exhibit 1 at p. 16.


       43.    When Prudential told Mr. Bowman it would backdate his claim to 2014, it


made an affirmative action that would potentially save itself from having to pay an


extra $2,000/month and an additional two-years' worth of benefits to Mr. Bowman.


       44.    In September 2016, Mr. Bowman received a letter from Prudential,


specifically from Mary Stratton, Disability Claims Consultant, which stated that his LTD


benefits were terminated effective immediately. See attached letter dated September 9,


2016, Exhibit 10.


       45.    In said letter, Prudential alleged that Mr. Bowman was no longer disabled


based upon the findings of a psychiatrist who allegedly reviewed the records


Prudential received from Mr. Bowman and Drs. Walden and Brown. Id. The letter does


not name the psychiatrist who rendered a medical opinion of his mental wellbeing;




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 however, Mr. Bowman later learned that the psychiatrist employed by Prudential was


 Dr. Kevin P. Hayes, M.D. of Los Angeles, California.


       46.    Prudential's psychiatrist,   Dr.   Kevin P. Hayes, never contacted Mr.


 Bowman. Prudential's psychiatrist never attempted to examine Mr. Bowman in person,


 by phone, or any other manner despite the expressed right to do so under the contract.


See Exhibit 1.


       47.    The September 9th letter referenced three (3) sessions, specifically, the


 doctors' notes from these sessions, between Mr. Bowman and Drs. Brown and Walden.


 These visits took place on January 20, 2016, April 21, 2016 with Dr. Walden and on April


 5, 2016 with Dr. Brown. Prudential's psychiatrist, Dr. Kevin Haye's, and Prudential's


 Disability Claims Consultant quoted and paraphrased Mr. Bowman's treating doctors


 out of context and with willful and malicious disregard of their expressed opinions in


 order discontinue paying his LTD benefits. See Exhibits 2 and 5.


       48.    According to the SOAP Note provided by Prudential, Dr. Kevin Hayes


. reported that Mr. Bowman "seems to describe professional burnout over impairment."


See attached SOAP Notes, Exhibit 11 at p. 34.


       49.    Dr. Hayes reported this opinion despite noting that on July 6, 2016, Dr.


Walden, MD advised him that "his prior opinion is unchanged." Id.


       50.    Dr. Kevin Hayes's opinion directly contradicts the opinions of Mr.


Bowman's treating physicians, Drs. Walden and Brown. Mr. Bowman's treating


physicians informed Dr. Hayes and Prudential that nothing had changed with respect


to his ability to work as an attorney and/ or accountant, and that their opinions had not



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changed since Mr. Bowman's claim was approved in 2015. See Letter from Dr. Walden,


dated December 15, 2015 attached as Exhibit 12; Letter from Terri Itzid at Mountain


Home Psychiatric Medicine dated March 4, 2016 attached as Exhibit 13; and, Letters


from Drs. Thomas Walden and Philip Brown, both dated July 6, 2016, attached as


Exhibits 14and15, respectively. See also Affidavits of Drs. Walden and Brown attached


as Exhibits 2 and 5, respectively. Prudential has not stated why it chose to use the


opinion of a psychiatrist who has never even spoken to Mr. Bowman as opposed to the


opinions of Mr. Bowman's treating doctors.


      51.      Dr.     Hayes,   after   allegedly       reviewing   all   the    documentation      and


information in Prudential's file regarding Mr. Bowman, decided that a direct, personal


examination of Mr. Bowman was not needed to render a medical opinion. Dr. Hayes


and Prudential made this affirmative decision to deny the claim without such an


examination despite the fact that the contract provided that option and despite the fact


that Mountain Home Psychiatric Medicine advised "it would be best for you to get your


own evaluation done with someone who will contract with your company." Exhibit 13.


      52.      Dr. Hayes alleged that his     II   opinions expressed... are true to a reasonable


degree of medical certainty." See Exhibit 11 at p. 34.


      53.      Mr. Bowman's treating doctors stated that, "in their professional opinions,


it is unethical and irresponsible for a psychiatrist to render an opinion and draw


conclusions    about    possible   psychiatric      impairments     of    an    individual. ..   without


personally examining said individual." See Exhibit 2 at Paragraph 10 and Exhibit 5 at


Paragraph 7.



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       54.    Accordingly, Dr. Kevin P. Hayes opinion was rendered unethically and in


bad faith. Dr. Hayes's determination was malicious, dishonest, and against reasonable


medical methods and practices and was provided with the intention of avoiding


liability for Prudential under the LTD policy.


       55.    Prudential, by relying upon Dr. Hayes's bad faith opinion, acted with


malice, deceit, and ill will when it terminated Mr. Bowman's LTD benefits. Moreover, it


cannot claim a good faith defense because it is unreasonable, irresponsible, and a breach


of good faith and fair dealing to rely upon a medical opinion that was based upon three


(3) notes from Mr. Bowman's doctors, was provided without ever physically examining


or even speaking to Mr. Bowman, and was rendered with the knowledge that his


treating doctors held diametrically opposing opinions regarding his mental state.


       56.    On September     23,   2016,   a    letter demanding   reinstatement   of   Mr.


Bowman's benefits was sent to Prudential's Disability Claim Consultant, Mary Stratton.


See Exhibit 16.


       57.    On September 26, 2016, Prudential provided a letter via facsimile denying


the demand for reinstatement. See Exhibit 17.


      58.    On October 3, 2016, a letter of appeal was sent via to Prudential. It is


Prudential's stated policy to review appeals and provide a response within forty-five


(45) days of receipt of an appeal. See Letter of Appeal attached as Exhibit 18.


      59.    Mr. Bowman is filing a Temporary Restraining Order and a Motion for


Preliminary and Permanent Injunction concurrently with this Original Complaint.


                               II. Jurisdiction and Venue




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         60.   Plaintiff incorporates and re-alleges the foregoing paragraphs 1- 59 into


this section of the Original Complaint.


         61.   Mr. Bowman resides in Mountain Home, Arkansas. At the time that the


breach of contract and bad faith occurred, he lived in Mountain Home, Arkansas.


Accordingly, this court has personal jurisdiction over Mr. Bowman and Prudential.


         62.   This action alleges violations of state and federal law. Furthermore, the


amount that Plaintiff is seeking exceeds $75,000 and Prudential is a company based out


of Pennsylvania, so there is diversity jurisdiction pursuant to 28 USC 1332.


                                          III. Breach of Contract


         63.   Plaintiff incorporates and re-alleges the forgoing paragraphs 1-62 into this


section of his Original Complaint.


         64.   A breach of contract occurs when: (a) there is the existence of an


enforceable contract; (b) the plaintiff has satisfied his or her obligations under the


contract; (c) the defendant violated his or her obligation(s) under the contract; and (d)


the defendant's violations caused the plaintiff to suffer damages. Rablais       v.   Barnett, 683


S.W.2d 919, 284   Ark.   527   (Ark. 1985).

         65.   To create an existing contract, there must be (a) an offer; (b) an acceptance;


and (c) consideration. Housley       v.   Hensley, 265 S.W.3d 136, 100 Ark. App. 118 (Ark. App.


2007).


         66.   Prudential offered Mr. Bowman a Long-term disability policy, through its


agent, The American Institute of Certified Public Accountants, and Mr. Bowman


accepted that offer by agreeing to the policy on July 1, 2000.



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       67.    The consideration of the resulting contract between Prudential and Mr.


Bowman was that Mr. Bowman would pay his premium amounts each year and


Prudential would insure Mr. Bowman if Mr. Bowman ever became disabled.


       68.    Mr. Bowman performed his contractual obligations when he made


prompt and timely payments on his premiums each year and by complying with all


contractual duties, such as requests for information regarding his proof of disability.


       69.    Mr. Bowman is a member of Class 1 per the contract. See Exhibit 1.


       70.    Mr. Bowman provided proof of his disability in or around March 2015.


       71.    The LTD Policy Provisions           section "How   Does Prudential Define


Disability?" states that a policyholder is disabled when, due to a sickness or injury, the


person is "unable to perform, for wage or profit, the material and substantial duties of


[their] own occupation; are under the regular care of a doctor; and are not working at


any job for wage or profit." See Exhibit 1, p. 13.


       72.    Prudential defines a sickness as "any disorder of your body or mind, but


not an injury". It defines mental illness as "a psychiatric or psychological condition


regardless of cause," and then lists depression and anxiety among other conditions and


states that they "are usually treated by a mental health provider or other qualified


provider using psychotherapy, psychotropic drugs, or other similar methods of


treatment as standardly accepted in the practice of medicine. See Id., Glossary.


      73.     Prudential assesses a policyholder's ability to work by facts and opinions


from the claimant's doctors and doctors, other medical practitioners or vocational


experts of its choice. Further, a policyholder can be subject to examinations by doctors,



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practitioners, or experts of its choice. This provision grants Prudential the right to


require these examinations as often as it is reasonable to do so. Id. However, Prudential


never made any attempt to examine Mr. Bowman.


       74.    Mr. Bowman suffers from acute anxiety and depression that can quickly


become exacerbated by high stress environments. Mr. Bowman's own occupation,


which Prudential defined as the occupation one is routinely performing when the


disability occurs, was that of an attorney, accountant, and President of Bowman &


Associates. See Exhibit 1, Glossary.


       75.    Mr.   Bowman and his treating doctors advised Prudential that the


disabling conditions that precluded his ability to perform the duties of his own


occupation have not changed since Prudential approved his claim.


       76.    Mr. Bowman's disabling conditions have not vanished since he was


diagnosed and approved by Prudential for disability benefits. On the contrary, he


continues to seek regular care from his doctors and he takes prescribed medications to


manage these disabling conditions.


       77.    Prudential's psychiatrist, Dr. Hayes, stated that a review of the records


from Mr. Bowman's doctors revealed that he is psychiatrically stable and, therefore,


able to perform the material and substantial duties of his own occupation. However,


this ignores the fact that Mr. Bowman still suffers from the same mental illnesses that he


did at the time Prudential approved it. Dr. Hayes and Prudential also ignore the fact


that his treating doctors remain of the opinion that working as an attorney and/ or


accountant is not a possibility in his condition.



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       78.    Assuming, arguendo, that Mr. Bowman has been psychiatrically stable


since April 2016, the fact remains that he continues to seek regular care and treatment


for the mental illnesses from which he suffers; and the high stress, fast pace, difficult


and complex tasks, and the weight of responsibilities that are inherent in the material


and substantial duties of his own occupations are not within his ability, just as they


were not when the claim was approved.


       79.    Mr. Bowman's doctors have confirmed that it is inadvisable for him to


continue working at his own occupation. As his doctors previously advised Prudential,


any attempt to work at his own occupations, as an attorney/ accountant, at this time


would bring about an increase in stress, which would negatively affect his medical


condition, and could cause serious problems for his overall health and wellbeing.


       80.    Mr. Bowman performed his contractual obligations by providing the


requested information and documentation Prudential requested when determining his


eligibility for LTD benefits.


       81.    Prudential defines "regular care" as personally visiting a doctor as


frequently as is medically required, according to generally accepted medical standards,


to effectively manage and treat one's disabling condition(s); and receiving the most


appropriate treatment and care for one's disabling condition(s) by a doctor whose


specialty or experience is the most appropriate according to generally accepted medical


standards. See Exhibit 1, p. 27.


       82.    Mr. Bowman personally visits his psychiatrist, Dr. Walden, MD, and his


psychologist, Dr. Brown, Ph.D., as frequently as they determine is medically required.



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The treatment and care he receives is the most appropriate for his disabling conditions


and his doctors' specialty and experience is the most appropriate for said conditions.


       83.    Mr. Bowman is eligible for coverage and meets the requirements for


disability benefits.


       84.    Because Mr. Bowman is still eligible for coverage, and the monetary


benefits that accompany that coverage, Prudential violated its obligations under the


contract by terminating the benefits of an eligible policyholder.


       85.    Because      Prudential   violated    its    contractual         obligations   under    the


contract/policy, Mr. Bowman has suffered damages in the form of extreme stress,


anxiety, and depression, as well as financial damages from Prudential's failure to pay


the benefits he is entitled to under the contract.


                                     III. Tort of Bad Faith


       86.    Plaintiff incorporates and re-alleges the forgoing paragraphs 1-85 into this


section of his Original Complaint.


       87.    Arkansas recognizes the tort of bad faith for both first-party and third-


party insurance policies and claims. Selmon        v.   Metropolitan Life Ins. Co., 277 S.W.3d 196,


372 Ark. 420 (Ark 2008).


       88.    An       insurance   company   commits         the   tort    of    bad   faith   when    it


"affirmatively engages in dishonest, malicious, or oppressive conduct in order to avoid


a just obligation to its insured." Unum Life Ins. Co. of America          v.   Edwards, 210 S.W.3d 84,


362 Ark 624 (Ark 2005).




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       89.    Prudential affirmatively acted in bad faith when it unilaterally terminated


Mr. Bowman's LTD benefits without notice on November 30, 2015, despite telling him


just two weeks prior that extra information was needed by February 2016. Prudential


knowingly and willfully contradicted its previous assurances and it acted dishonestly in


an attempt to avoid liability.


       90.    Prudential then placed Mr. Bowman on temporary, short-term extensions


that also contradicted the deadline provided in the letter dated November 13th.


       91.    Prudential knew about Mr. Bowman's stress, anxiety and depression, and


Prudential knew that stringing Mr. Bowman along each month only exacerbated his


stress, anxiety and depression.


       92.    Only after approximately three (3) months of severe stress and repeated


phone calls by Mr. Bowman did Prudential agree to reinstate his benefits. But only until


September 30, 2016.


       93.    Mr. Bowman, having already experienced the nightmare associated with


Prudential's arbitrary termination of benefits and the uncertain, dishonest nature of its


month-to-month extensions, was unsure if Prudential would honor this reinstatement.


       94.    Before September 30, 2016, the date that he was assured his benefits were


approved through, Prudential maliciously and dishonestly terminated his LTD benefits.


To reiterate, Prudential assured Mr. Bowman that his benefits would be paid through at


least September 30, 2016, and yet, with a willful disregard for its obligations and


promises, Prudential terminated Mr. Bowman's benefits on September 9, 2016. See


Exhibit 9at 19.



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       95.    Prudential cannot claim it acted in good faith by relying on its psychiatrist


since Dr. Kevin Hayes acted in bad faith when he rendered his opinion of Mr.


Bowman's mental condition and his ability to work. Dr. Hayes's dishonest and


oppressive opinion was provided with the intention of alleviating Prudential from their


liability under the contract. It was not provided ethically and was not accurate to a


reasonable degree of medical certainty. As such, Prudential should be held accountable


for permitting and possibly encouraging this type of malicious medical practice.


       96.    Prudential exhibited further bad faith when it attempted to backdate the


date the claim was made and when Mr. Bowman stopped working for wage and profit.


This attempt to backdate was made by Prudential while knowing that Mr. Bowman


worked for wage and profit in 2015 (see Exhibit 3) and knowing that such a claim could


save Prudential money.


       97.    Mr. Bowman suffered severe emotional and mental distress directly


caused by these dishonest, malicious actions that Prudential willfully and knowingly


undertook. Moreover, the aforementioned affirmative misconduct was deceptive and


oppressive and designed to frustrate the policyholder and circumvent its liability under


the contractual obligations of the policy. As such, Prudential has acted in bad faith.


                                IV. Request for Jury Trial


       98.    Plaintiff incorporates and re-alleges the forgoing paragraphs 1-97 into this


section of his Original Complaint.


      99.     Mr. Bowman respectfully requests a jury trial in this matter.




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                                       V. Conclusion


       100.   Plaintiff incorporates and re-alleges the forgoing paragraphs 1-99 into this


section of his Original Complaint.


       101.   Prudential   exhibited   a pattern of disrespect   and disregard. that is


reprehensible and that, consequently, breached its contract and its duty of good faith


and fair dealing. Mr. Bowman deserves every remedy available under the law, and he is


therefore seeking compensatory damages for his emotional and mental pain and


suffering as well as damages for lost benefit payments under the terms of the contract.


Further, Mr. Bowman is seeking both statutory and common law punitive damages in


order to ensure that Prudential does not continue to exhibit similar actions towards him


and its other policyholders. In addition, Mr. Bowman seeks all costs incurred in this


matter and attorneys' fees.


       WHEREFORE, Mr. Bowman prays that this court find that Prudential breached


its contract and violated its duty of good faith and fair dealing and award Plaintiff


damages that a jury deems just and proper and for attorney's fees and all other relief to


which he is entitled.




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                                         Respectfully submitted,


                                         BOWMAN & LEWIS, PLLC




                                         Nathan Lewis (2006231)
                                         109 S. Spring St.
                                         Suite 14 -
                                         Springdale, AR 72764
                                         Phone: (501) 251-1701
                                         Fax: (501) 377-9238
                                         nathan@lrattorney.com




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